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UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE

Poppin, Inc.,                                         )
                          Plaintiff,                  ) Court No. 20-00158
                   v.                                 )
United States,                                        )
                          Defendant.                  )


Lighting Partners Jax, Inc.,                          )
                          Plaintiff,                  ) Court No. 20-03529
                   v.                                 )
United States,                                        )
                          Defendant.                  )


                        STIPULATION OF DISMISSAL
      Please take notice that plaintiff, pursuant to Rule 41(a)(1)(A)(ii) of the Rules

of the United States Court of International Trade, having filed a stipulation of

dismissal signed by all parties who have appeared in these actions and those actions

listed on the attached schedule hereby dismisses these actions with prejudice and

those listed on the attached schedule.


Respectfully submitted,

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                        Schedule to Stipulation of Dismissal


                 Court No.                      Plaintiff(s) Name
                 20-00158                          Poppin, Inc.
                 20-03529                   Lighting Partners Jax, Inc.,


                                 Order of Dismissal

       These actions and those listed on the schedule set forth above, having been
voluntarily stipulated for dismissal with prejudice by all parties having appeared in
the action, are dismissed with prejudice.

Dated: _____________________
                                       Clerk, U. S. Court of International Trade


                                       By: ________________________________
                                       Deputy Clerk
